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             IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE THE HONORABLE LEO M. GORDON, SENIOR JUDGE
__________________________________________
                                           )
VANDEWATER INTERNATIONAL INC.,             )
                                           )
                  Plaintiff,               )
                                           )
      and                                  )
                                           )
SIGMA CORPORATION and SMITH-COOPER )
INTERNATIONAL, INC.,                       )
                                           )
                  Plaintiff-Intervenors,   )
      v.                                   ) Court No. 18-00199
                                           )
UNITED STATES,                             ) PUBLIC VERSION
                                           ) Business Proprietary Information
                  Defendant,               ) Identified by Brackets [ ]
                                           )
      and                                  )
                                           )
ISLAND INDUSTRIES,                         )
                                           )
                  Defendant-Intervenor.    )
__________________________________________)

 DEFENDANT’S UPDATED RESPONSE TO THE COURT’S JULY 21, 2022 LETTER

       Defendant, the United States, respectfully submits this updated response to the Court’s

July 21, 2022 letter concerning suspension of liquidation issues in this litigation, ECF No. 151.

The Court’s letter directed the Government “to clarify whether or not there was a pre-existing

suspension of liquidation” at the time of the Department of Commerce’s (Commerce) September

2018 final scope ruling in this proceeding. Id. at 3-4. We have sought to answer this question

through inquiries with Commerce, U.S. Customs and Border Protection (CBP), and plaintiff

Vandewater International Inc. (Vandewater). Based upon these inquiries, we understand that

Commerce’s September 2018 instructions to CBP following the final scope ruling—which,
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consistent with Commerce’s then-applicable regulations at 19 C.F.R. § 351.225(l) (2018),

instructed CBP to “{c}ontinue” to suspend liquidation of Vandewater’s entries of steel branch

outlets covered by the scope ruling—were the first such suspension instructions Commerce

issued specifically regarding Vandewater’s entries of steel branch outlets. Ex. 1. Commerce

itself did not issue any relevant suspension instructions prior to September 2018 focused on

Vandewater’s steel branch outlets, and using the information disclosed in our July 27, 2022

initial response to the Court as a basis for inquiry, we have not been able to identify any prior

suspension by CBP. Although it is theoretically possible that CBP could have suspended one or

more individual entries as of September 2018 pursuant to other authority, which could have

continued under Commerce’s regulations and post-ruling instructions, Commerce’s search

described in our July 27 filing and our inquiries with Vandewater did not identify any such entry.

       As noted above, we used the information identified in our July 27 filing as a basis to

inquire about the issue of pre-existing suspension. With respect to [




                  ]. Commerce’s September 2018 instructions directed CBP to “{c}ontinue” to

suspend liquidation, telling CBP to continue to suspend any entries that CBP had already

suspended (but we are unaware of any such entries). Ex. 1. Shortly thereafter, however,

Vandewater initiated this action and the Court in October 2018 issued its statutory injunction

requiring the suspension of liquidation covering any unliquidated entries made on or after June

24, 1992. ECF No. 23. Commerce in October 2018 thus issued a second set of instructions

based on the Court’s injunction, instructing CBP not to liquidate relevant entries, to continue to




                                                 2
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                                                                                  PUBLIC VERSION



suspend liquidation, and to follow the injunction. See Ex. 2. Subsequently, CBP [




                                                      ]. See Ex. 3. Vandewater responded to

[



                                                             ]. See Ex. 4. CBP subsequently

[                                                                      ].1

       Based on these circumstances, we do not believe that the entries identified in our July 27,

2022 filing are subject to Commerce’s September 2018 suspension instructions and thereby to

duties based upon those instructions. Commerce’s September 2018 instructions directed CBP to

“{c}ontinue” to suspend liquidation, and these entries [

                                    ]. Ex. 1.2 Commerce and CBP are nonetheless required to

keep the entries suspended pursuant to the Court’s October 2018 statutory injunction, which

covers unliquidated entries going back to the order’s inception in 1992.

                                                      Respectfully submitted,

                                                      BRIAN M. BOYNTON
                                                      Principal Deputy Assistant Attorney General

                                                      PATRICIA M. MCCARTHY
                                                      Director


       1
          We have not been able to determine whether CBP suspended the entries pursuant to
Commerce’s September 2018 or October 2018 suspension instructions, but do not believe that
issue is material to the Court’s question regarding whether there was a pre-existing suspension of
liquidation when Commerce issued its final scope ruling.
       2
          At the same time, it is CBP’s role to determine in the first instance whether a particular
entry is or is not subject to antidumping duties (subject to protest and legal challenge by the
importer). See Sunpreme Inc. v. United States, 946 F.3d 1300, 1320-21 (Fed. Cir. 2020).


                                                  3
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                                         /s/ L. Misha Preheim
                                         L. MISHA PREHEIM
                                         Assistant Director

 OF COUNSEL:                             /s/ Joshua E. Kurland
                                         JOSHUA E. KURLAND
SHELBY M. ANDERSON                       Senior Trial Attorney
Assistant Chief Counsel                  U.S. Department of Justice
Office of the Chief Counsel              Civil Division
for Trade Enforcement & Compliance       Commercial Litigation Branch
                                         Department of Justice
                                         P.O. Box 480
                                         Ben Franklin Station
                                         Washington, DC 20044
                                         Tel: (202) 515-0477

August 5, 2022                           Attorneys for Defendant United States




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                Exhibit 1
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                Barcode:3754200-01 A-570-814 SCO - Scope Inquiry   -   Vandewater



                                                                                      A-570-814
                                                                                  Scope Inquiry
                                                                               Public Document
                                                                                 E&C/OV: AC


September 17, 2018

MEMO TO:             The File

FROM:                Annathea Cook
                     International Trade Compliance Analyst, Office V
                     Enforcement and Compliance

RE:                  Carbon Steel Butt-Weld Pipe Fittings from the People’s Republic of
                     China: Placing CBP Instructions on the Record


Attached are the Customs and Border Protection (CBP) cash deposit instructions that the U.S.
Department of Commerce transmitted to CBP upon issuing the final scope ruling on Vandewater
International Inc.’s steel branch outlets; see Attachment 1.




       Filed By: Annathea Cook, Filed Date: 9/17/18 11:02 AM, Submission Status: Approved
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         Barcode:3754200-01 A-570-814 SCO - Scope Inquiry   -   Vandewater




                              Attachment 1




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                 Barcode:3754200-01 A-570-814 SCO - Scope Inquiry   -   Vandewater



Type: SCO

Subtype: INSCO

Re: Scope determination on antidumping duty order on Carbon Steel Butt-Weld Pipe Fittings
from the People’s Republic of China (A-570-814).

1. On 09/10/2018, in response to a request by Vandewater International Inc., Commerce issued a
final scope determination that Vandewater International Inc.’s steel branch outlets which
Vandewater International Inc. imports is within the scope of the antidumping duty order on
carbon steel butt-weld pipe fittings from the People’s Republic of China (A-570-814).

2. Because the imported product is within the language of both the scope and the ITC
description of subject merchandise, Commerce found this product to be within the scope of the
order.

3. Continue to suspend liquidation of entries of carbon steel butt-weld pipe fittings from the
People’s Republic of China, including Vandewater International Inc.’s steel branch outlets
imported by Vandewater International Inc. described above, subject to the antidumping duty
order on carbon steel butt-weld pipe fittings from the People’s Republic of China.

4. If there are any questions by the importing public regarding this message, please contact the
Call Center for the Office of AD/CVD Operations, Enforcement and Compliance, International
Trade Administration, U.S. Department of Commerce at (202) 482-0984. CBP ports should
submit their inquiries through authorized CBP channels only. (This message was generated by
OV: AC.)

5. There are no restrictions on the release of this information.

Alexander Amdur




        Filed By: Annathea Cook, Filed Date: 9/17/18 11:02 AM, Submission Status: Approved
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                Exhibit 2
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MESSAGE NO.           8283303                              MESSAGE DATE        10/10/2018


STATUS                Active                               INACTIVATED DATE

TYPE                  INJ/TRO-Stat Injunction/ TRO         FR CITE

SUB-TYPE                                                   FR DATE

CATEGORY ACCESS AD                                         EFFECTIVE DATE      10/05/2018

TYPE                   Public    ✔      Non-Public         POI/POR DATE                     -

Notice of lifting                                          PERIOD COVERED                   -
of Suspension Date

SHORT CASE NAME       CS Butt Weld Pipe Fittings




COURT CASE #s         18-00199




REF MESSAGE #s        8291303;9247303;9357312;0265423;0330405;1285412




PRINCIPAL CASE #s     A570814




3rd Country CASE #s
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RE: Statutory injunction on carbon steel butt-weld pipe fittings from China for Vandewater International Inc., for entries
      made on or after 06/24/1992 (A-570-814), court number 18-00199
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1. On 10/05/2018, the U.S. Court of International Trade issued a statutory injunction (SI) enjoining
liquidation of entries identified in paragraph 2 which are subject to the antidumping duty order on
carbon steel butt-weld pipe fittings from the Peoples Republic of China (A-570-814) for entries made
on or after 06/24/1992. This SI was issued in connection with court number 18-00199.


2. This SI enjoins liquidation of entries which: (1) were imported by Vandewater International Inc.; (2)
were the subject of the United States Department of Commerces final determination in Antidumping
Duty Order on Carbon Steel Butt-Weld Pipe Fittings from the Peoples Republic of China: Final Scope
Ruling on Vandewater International Inc.s Steel Branch Outlets, dated September 10, 2018; and (3)
were entered, or withdrawn from warehouse for consumption, on or after June 24, 1992, and that
remain unliquidated.


3. Effective 10/05/2018 (the date the Court issued the SI), no liquidation may be made for entries
referred to in paragraph 2 which remain unliquidated as of October 5, 2018. Any such entries that are
set for liquidation must be unset immediately. Continue to suspend liquidation of these entries until
liquidation instructions are issued.


4. Effective immediately, CBP is instructed to follow the terms of the SI.


5. Liquidation instructions for entries affected by this SI have not yet been issued.


6. If there are any questions by the importing public regarding this message, please contact the Call
Center for the Office of AD/CVD Operations, Enforcement and Compliance, International Trade
Administration, U.S. Department of Commerce at (202) 482-0984. CBP ports should submit their
inquiries through authorized CBP channels only. (This message was generated by OV: AC.)


7. There are no restrictions on the release of this information.


Alexander Amdur
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                Exhibit 3
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   Pages Containing
Confidential Information
 Intentionally Omitted
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                Exhibit 4
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   Pages Containing
Confidential Information
 Intentionally Omitted
